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                              No. 23-10326

         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT

       BRAIDWOOD MANAGEMENT INCORPORATED, et al.,
                           Plaintiffs-Appellees,
                                       v.

                        XAVIER BECERRA, et al.,
                                   Defendants-Appellants.

           On Appeal from the United States District Court
         for the Northern District of Texas, No. 4:20‐cv‐00283
          Hon. Reed O’Connor, United States District Judge

 BRIEF OF AMICI CURIAE AMERICAN LUNG ASSOCIATION,
 ADULT VACCINE ACCESS COALITION, AMERICAN HEART
 ASSOCIATION, CAMPAIGN FOR TOBACCO-FREE KIDS, GO2
  FOR LUNG CANCER, LUNGEVITY FOUNDATION, PUBLIC
    CITIZEN, AND TRUTH INITIATIVE FOUNDATION d/b/a
                   TRUTH INITIATIVE
   IN SUPPORT OF DEFENDANTS-APPELLANTS’ MOTION
    FOR A STAY OF THE DISTRICT COURT’S JUDGMENT

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April 27, 2023
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SUPPLEMENTAL CERTIFICATE OF INTERESTED PERSONS

                               No. 23-10326

         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT

       BRAIDWOOD MANAGEMENT INCORPORATED, et al.,
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                                   Defendants-Appellants.


            On Appeal from the United States District Court
          for the Northern District of Texas, No. 4:20‐cv‐00283
           Hon. Reed O’Connor, United States District Judge

     Pursuant to this Court’s Rule 29.2 and Federal Rule of Appellate

Procedure 26.1, amici curiae American Lung Association, Adult Vaccine

Access Coalition, American Heart Association, Campaign for Tobacco-

Free Kids, GO2 for Lung Cancer, LUNGevity Foundation, Public Citizen,

and Truth Initiative Foundation d/b/a Truth Initiative submit this

supplemental certificate of interested persons to fully disclose all those

with an interest in this brief and provide the required information as to

their corporate status and affiliations.




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     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Rule 28.2.1

have an interest in the outcome of this case, in addition to those listed in

the briefs of the parties. These representations are made in order that

the judges of this Court may evaluate possible disqualification or recusal.

     A.    Amicus curiae American Lung Association is a non-profit,

non-stock corporation. It has no parent corporation, and no publicly

traded corporation has an ownership interest in it of any kind.

     B.    Amicus curiae Adult Vaccine Access Coalition is a non-

profit, non-stock corporation. It has no parent corporation, and no

publicly traded corporation has an ownership interest in it of any kind.

     C.    Amicus curiae American Heart Association is a non-profit,

non-stock corporation. It has no parent corporation, and no publicly

traded corporation has an ownership interest in it of any kind.

     D.    Amicus curiae Campaign for Tobacco-Free Kids is a non-

profit, non-stock corporation. It has no parent corporation, and no

publicly traded corporation has an ownership interest in it of any kind.




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      E.       Amicus curiae GO2 for Lung Cancer is a non-profit, non-

stock corporation. It has no parent corporation, and no publicly traded

corporation has an ownership interest in it of any kind.

      F.       Amicus curiae LUNGevity Foundation is a non-profit, non-

stock corporation. It has no parent corporation, and no publicly traded

corporation has an ownership interest in it of any kind.

      G.       Amicus curiae Public Citizen is a non-profit, non-stock

corporation. It has no parent corporation, and no publicly traded

corporation has an ownership interest in it of any kind.

      H.       Amicus curiae Truth Initiative Foundation d/b/a Truth

Initiative is a non-profit, non-stock corporation. It has no parent

corporation, and no publicly traded corporation has an ownership

interest in it of any kind.

      I.       The above-listed amici curiae are represented by Nicolas A.

Sansone and Allison M. Zieve of Public Citizen Litigation Group.

                                                           /s/ Nicolas A. Sansone
                                                           Nicolas A. Sansone

                                                           Attorney for Amici Curiae
                                                           American Lung Association,
                                                           et al.

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                     INTEREST OF AMICI CURIAE1

     Amici curiae are eight organizations with strong interests in

ensuring that Americans retain cost-free access to the preventive care—

including lung cancer screening, medications that reduce the risk of heart

attack and stroke, and behavioral counseling to improve lung and heart

health—threatened by the district court’s judgment in this case.

     The American Lung Association is a non-profit organization that

has worked for more than 115 years to improve lung health and prevent

life-threatening lung disease. One of the organization’s central missions

is to reduce the incidence of lung cancer by encouraging prevention and

effective treatment.

     The Adult Vaccine Access Coalition was formed to advocate for

federal policies that improve access to and increase utilization of vaccines

among adults. It advocates for policies, including the elimination of cost-

sharing, that reduce the barriers that discourage patients from utilizing

effective forms of preventive care.



     1 This brief was not authored in whole or part by counsel for a party,
and no one other than amici curiae or their counsel made a monetary
contribution to the preparation or submission of the brief. Counsel for all
parties have consented to its filing.

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     The American Heart Association is the nation’s oldest and largest

voluntary organization dedicated to fighting heart disease and stroke,

and it represents more than 40 million volunteers and supporters. The

patients it represents benefit directly from the Affordable Care Act’s

preventive services provisions, without which millions of patients would

no longer have the same access to life-saving, evidence-based healthcare

that supports long-term cardiovascular health.

     The Campaign for Tobacco-Free Kids is a leading force in the fight

to reduce tobacco use and its deadly toll in the United States and around

the world. The Campaign envisions a future free of the death and disease

caused by tobacco, and it works to save lives by advocating for public

policies that prevent kids from using tobacco products, help smokers quit,

educate the public about the dangers of smoking and tobacco use, and

protect everyone from secondhand smoke.

     GO2 for Lung Cancer, founded by patients and survivors of lung

cancer, is dedicated to increasing survival for those at risk of, diagnosed

with, and living with lung cancer, and it provides one-on-one assistance,

supportive connections, treatment information, and help finding care

close to home. The organization offers information about the latest



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research and special initiatives that increase survivorship, and it works

to improve health policies and public awareness.

     LUNGevity      Foundation    is       the   largest   national     non-profit

organization that funds research, provides education and support, and

builds communities for the 600,000 Americans living with lung cancer.

LUNGevity strongly supports provisions in the Affordable Care Act that

allow for no-cost coverage of life-saving services such as lung cancer

screening.

     Public Citizen is a non-profit consumer advocacy organization with

members in all fifty states. Among other things, Public Citizen works to

advance healthcare access and to ensure strong protections for public

health.

     Truth Initiative Foundation d/b/a Truth Initiative, created out of a

1998 master settlement agreement between forty-six states and the

tobacco industry, seeks to create a world where young people reject

tobacco and nicotine in all its forms and where anybody can quit using

tobacco or nicotine. Truth Initiative has a strong interest in ensuring that

individuals retain access to the cost-free tobacco-cessation programs

guaranteed by the Affordable Care Act.



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                       SUMMARY OF ARGUMENT

     The provisions of the Affordable Care Act (ACA) that require

insurers to provide coverage for certain preventive services without cost

to patients reflect Congress’s recognition that barrier-free access to

preventive care is critical for safeguarding Americans’ health. The

district court’s judgment upends Congress’s careful policy choices and

creates the risk that insurers will reinstate cost-sharing for vital

preventive services or even exclude them from coverage entirely. To avoid

the hazardous consequences the district court’s judgment could hold for

public health, this Court should stay the judgment pending appeal.

     As the government explains in its brief, there is a substantial

likelihood that this Court will ultimately vacate the district court’s

judgment. In the meantime, that judgment threatens millions of

Americans’ cost-free access to a wide range of medical services that have

proven to be effective in preventing serious health conditions and

reducing mortality. These services range from cancer screenings to

neonatal care to life-saving medications that dramatically reduce the risk

of stroke, heart attacks, and Human Immunodeficiency Virus (HIV). A

robust body of research has shown that even modest cost barriers can



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meaningfully reduce uptake of preventive services, especially for patients

in socioeconomically vulnerable populations. The risk that insurers will

follow the financial incentives created by the district court’s judgment

and reinstitute the cost-sharing or coverage gaps that the ACA sought to

prevent could compromise the health and even the lives of countless

Americans, causing irreparable harm. As against this risk, plaintiffs and

the public at large will experience no harm at all if this Court grants a

stay. The equities thus overwhelmingly favor staying the district court’s

judgment to ensure stability and continuity in Americans’ healthcare

while this Court considers the merits of the government’s appeal.

                             ARGUMENT

I.   Millions of Americans rely on the ACA’s guarantee of cost-
     free access to preventive services that have proven to be
     effective in protecting against life-threatening conditions.

     Even before the ACA became law on March 23, 2010, the medical

community had long recognized the important role of “[h]igh-quality

preventive care” in “help[ing] Americans stay healthy, avoid or delay the

onset of disease, lead productive lives, and reduce costs.” Ctrs. for

Medicare & Medicaid Servs., Background: The Affordable Care Act’s New

Rules on Preventive Care (July 14, 2010) (CMS, Background),



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https://tinyurl.com/yefyrsek. Reputable expert studies showed that

targeted lifestyle changes and early detection could reduce the incidence

of and mortality from chronic diseases like diabetes and cancer by as

much as seventy percent. See Steven H. Woolf, The Price Paid for Not

Preventing Diseases, in Inst. of Med. of the Nat’l Acads., The Healthcare

Imperative: Lowering Costs and Improving Outcomes 220, 221 (2010),

https://tinyurl.com/vb4nss25.     And        the   National     Commission      on

Prevention Priorities estimated that more effective provision of just five

preventive measures could save 100,000 lives per year. Id. at 222–23.

Experts explained that the economic “price paid for inadequate emphasis

on prevention,” meanwhile, is high, id. at 223, amounting to hundreds of

billions of dollars annually, by some calculations. See, e.g., id.; Michael

V. Maciosek, et al., Greater Use of Preventive Services in U.S. Health Care

Could Save Lives at Little or No Cost, Health Affs. (Sept. 2010),

https://tinyurl.com/z3a422pd (abstract) (reporting at the time of the

ACA’s enactment that greater use of twenty “proven clinical preventive

services” could save “more than two million life-years annually,” along

with billions of dollars).




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     Despite the “proven benefits” of preventive measures, “financial

barriers”—including lack of coverage for people without health insurance

and copayments and deductibles for people with health insurance—

deterred people from seeking preventive care, such as “cancer screenings,

immunizations for their children and themselves, and well-baby check-

ups.” CMS, Background. In the wake of the 2007 global financial crisis,

26.5 percent of Americans participating in a study by the National

Bureau of Economic Research reported a reduction in their use of routine

medical care, while 70 percent of the American Hospital Association’s

member hospitals reported fewer patient visits “as family budgets

remain[ed] tight and patients continue[d] to delay or forgo care.” Robert

Pear, Economy Led to Cuts in Use of Health Care, N.Y. Times (Aug. 16,

2010), https://tinyurl.com/nbym72zx.

     With Americans “us[ing] preventive services at about half the

recommended rate,” CMS, Background, one of the ACA’s central

innovations was to encourage increased utilization by requiring covered

health plans and insurers to provide cost-free coverage for certain

evidence-based preventive care measures. As a result of the new law,

approximately 76 million Americans became eligible for expanded



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coverage for preventive services. U.S. Dep’t of Health & Human Servs.

(HHS), Off. of the Ass’t Sec’y for Planning & Eval., Increased Coverage of

Preventive Services with Zero Cost Sharing Under the Affordable Care

Act, 1 (June 27, 2014), https://tinyurl.com/zh4rdwac. Since then, vast

numbers of people have relied on the ACA’s guarantee of cost-free

coverage for preventive services, with about 60 percent of insured

Americans—roughly 100 million people—utilizing such services in 2018.

Krutika Amin, et al., Preventive Services Use Among People with Private

Insurance Coverage, Peterson-KFF Health System Tracker (Mar. 20,

2023) (Amin, Preventive Services), https://tinyurl.com/5n8ctmts.

     Among the preventive measures included under the ACA’s cost-free

coverage requirement are “evidence-based items or services” that have

received an “A” or “B” rating from the U.S. Preventive Services Task

Force (USPSTF). 42 U.S.C. § 300gg-13(a)(1). The USPSTF is composed of

sixteen volunteer experts who specialize in preventive medicine and

primary care and who make “evidence-based recommendations about

preventive services such as screenings, behavioral counseling, and

preventive medications.” USPSTF, USPSTF: Who We Are & How We

Work, 1 (2022) (USPSTF, Who We Are), https://tinyurl.com/22e9ewek.



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These recommendations “cover more than 80 preventive service topics for

people across the lifespan—from vision screening in young children, to

heart disease prevention in adults, to colorectal cancer screening in older

adults.” Id. When a recommended service receives an “A” grade, the

USPSTF has “high certainty that the net benefit” of the service “is

substantial,” and when a recommended service receives a “B” grade, the

USPSTF has “high certainty that the net benefit is moderate or …

moderate certainty that the net benefit is moderate to substantial.”

USPSTF, Grade Definitions (June 2018), https://tinyurl.com/3mcx9hsu.

     The USPSTF follows a “scientifically rigorous” four-step process in

creating its recommendations. USPSTF, Who We Are at 2–3. First, the

USPSTF selects a preventive-care topic to prioritize based on, among

other things, “the topic’s importance for public health” and “the potential

impact of [a] recommendation.” Id. at 3. Second, the USPSTF partners

with “an academic or research organization with expertise in conducting

systematic evidence reviews” to draft a research plan on the topic, which

it finalizes after a four-week public comment period. Id. Third, the

partner organization’s researchers “gather, review, and analyze evidence

on the topic from high-quality studies published in peer-reviewed



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scientific journals,” after which USPSTF members assess the findings of

the evidence review, create a draft recommendation, and open the draft

to public comment. Id. Last, the USPSTF finalizes the recommendation

based on the evidence reviews and public comments and assigns the

recommendation a letter grade. Id. Although an “A” or “B” grade triggers

the ACA’s mandatory-coverage requirement, coverage considerations do

not influence the USPSTF’s grading, which is based entirely on a

preventive service’s demonstrated efficacy. Id. at 6.

     More than fifty types of preventive services currently have an “A”

or “B” grade from the USPSTF. See USPSTF, A & B Recommendations

(2023), https://tinyurl.com/382atn5d. These services include nutritional

supplements to support healthy pregnancies, behavioral counseling

interventions to reduce the risk of cardiovascular disease, topical

medications to reduce the risk of blindness in newborns, tobacco

cessation treatment, prophylactic treatments to reduce the risk of HIV

transmission, and screenings that can lead to the early detection and

treatment of life-threatening conditions like cancer, HIV, hypertension,

and diabetes. Id. Prior to the district court’s judgment, approximately

151.6 million Americans enjoyed cost-free access to these services



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through their private insurance, and tens of millions more had similar

access through Medicaid and Medicare. See HHS, Off. of the Ass’t Sec’y

for Planning & Eval., Access to Preventive Services Without Cost-Sharing:

Evidence from the Affordable Care Act, 3, 6–7 (Jan. 11, 2022) (HHS,

Access to Preventive Services), https://tinyurl.com/2p8r2rfy.

II.   Absent a stay, lost access to cost-free preventive services
      could cause countless Americans to forgo necessary care,
      causing irreparable harm on a nationwide scale.

      Following the district court’s judgment, insurers may now impose

cost-sharing requirements on preventive services that received “A” or “B”

grades from the USPSTF after March 23, 2010, or decline to cover such

services altogether. As a result, cost-free access to critical medical care is

currently at risk for millions of American patients. Absent a stay, cost

considerations may cause patients to forgo the preventive-care measures

that enable them both to stay healthy and to identify and manage

potentially life-threatening conditions at early stages when meaningful,

cost-effective treatment is still possible.

      The risk of irreparable harm on a nationwide scale is apparent from

the vast breadth of critical preventive services threatened by the district

court’s ruling. The many USPSTF-recommended services that received



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“A” or “B” ratings after March 23, 2010, will no longer be subject to the

ACA’s guarantee of cost-free coverage absent a stay. For example:

     • Lung cancer screening for certain adults first received a

        qualifying rating in 2013. See USPSTF, Lung Cancer: Screening

        (Dec. 31, 2013), https://tinyurl.com/5bve6cts. Access to the

        screening is essential because early detection has a dramatic

        effect on health outcomes, with a 61 percent five-year survival

        rate for cases caught early falling to just 7 percent for cases

        caught later. Am. Lung Ass’n, Lung Cancer Key Findings

        (Nov. 17,      2022),    https://tinyurl.com/yndkd8xr           (“Early

        Diagnosis”).

     • Hepatitis B and C screenings received qualifying ratings in 2013

        and 2014. See USPSTF, Hepatitis B Virus Infection: Screening,

        2014 (June 18, 2014), https://tinyurl.com/3rdba82k; USPSTF,

        Hepatitis       C:      Screening          (June       15,          2013),

        https://tinyurl.com/4mjhrr9y. Both viruses are “major causes of

        acute and chronic liver disease,” and early identification of those

        who are infected enables those individuals “to receive the

        necessary care and treatment to prevent or delay progression of



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  liver disease,” while also reducing transmission rates and new

  infections. World Health Org., Guidelines on Hepatitis B and C

  Testing (Feb. 16, 2017), https://tinyurl.com/5n8ac8t6.

• Physical therapy for certain older adults to reduce the risk of

  falling first received a qualifying rating in 2012. See USPSTF,

  Falls Prevention in Older Adults: Counseling and Preventive

  Medication (May 15, 2012), https://tinyurl.com/47wt749a. Falls

  were the leading cause of injury-related mortality among older

  adults at the time the recommendation was last updated in 2018,

  causing an estimated 33,000 deaths in 2015 alone. See USPSTF,

  Falls   Prevention     in   Community-Dwelling          Older     Adults:

  Interventions (Apr. 17, 2018), https://tinyurl.com/2p9asyxs

  (“Rationale”).

• Behavioral counseling interventions aimed at enabling pregnant

  individuals to maintain a healthy body weight first received a

  qualifying rating in 2021. See USPSTF, Healthy Weight and

  Weight Gain in Pregnancy: Behavioral Counseling Interventions

  (May     25,      2021),        https://tinyurl.com/yvude329.         This

  recommendation addresses a pronounced increase in obesity



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       rates during pregnancy from 13 percent in 1993 to 24 percent in

       2015, with particularly high obesity rates among Alaska

       Native/American Indian, Black, and Hispanic women. Id.

       (“Importance”). As the USPSTF explained, “[e]xcess weight at

       the beginning of pregnancy and excess gestational weight gain”

       are associated with “adverse … health outcomes” not only for the

       pregnant individual but also for the infant. Id.; see also Patrick

       M. Catalano, et al., Obesity and Pregnancy: Mechanisms of Short

       Term and Long Term Adverse Consequences for Mother and

       Child, Brit. Med. J. (Feb. 8, 2017), https://tinyurl.com/yc8yaanz

       (explaining that obesity increases the risk of spontaneous

       miscarriage and having a child with “congenital anomalies” such

       as neural tube defects, limb reductions, and cardiovascular

       anomalies).

     Even among those services that had a qualifying rating from the

USPSTF prior to March 23, 2010, many recommendations have since

undergone important updates. For example:

     • At the time the ACA went into effect, the USPSTF’s preventive

       recommendations related to lipid disorders that could lead to



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  coronary heart disease were limited to screening for certain

  adults. See USPSTF, Lipid Disorders in Adults (Cholesterol,

  Dyslipidemia):         Screening            (Dec.       30,           2013),

  https://tinyurl.com/24sn6nvu (June 2008 recommendation). In

  2016, the USPSTF updated the recommendation to include

  prescription of a statin. See USPSTF, Statin Use for the Primary

  Prevention of Cardiovascular Disease in Adults: Preventive

  Medication     (Nov.   13,     2016),   https://tinyurl.com/2p9f9mth.

  Statins are potentially life-saving medications that “[s]cientific

  studies and years of use all over the world have proven … [to]

  reduce a person’s chances of having a heart attack or stroke” by

  up to 50 percent. CDC, The Scoop on Statins: What Do You Need

  to Know? (Sept. 27, 2021), https://tinyurl.com/3wab5skn.

• At the time the ACA went into effect, the USPSTF recommended

  screening adults aged 50–75 for colorectal cancer. See USPSTF,

  Colorectal      Cancer:        Screening       (Oct.      15,         2008),

  https://tinyurl.com/4xsveypy. Based on new evidence of “a recent

  trend for increasing risk of colorectal cancer in … adults younger

  than 50 years,” the USPSTF updated its recommendation in



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          2021 to include adults aged 45–49. See USPSTF, Colorectal

          Cancer: Screening (May 18, 2021), https://tinyurl.com/54w9u4x2

          (“Practice Considerations”). The USPSTF expects this update to

          “increase life-years gained and decrease colorectal cancer cases

          and deaths compared with beginning screening at age 50 years.”2

          Id.

     • At the time the ACA went into effect, the USPSTF recommended

          screening for type 2 diabetes only for certain adults with elevated

          blood pressure. See USPSTF, Diabetes Mellitus (Type 2) in

          Adults: Screening (June 15, 2008), https://tinyurl.com/mr23xvz6.



     2 In their opposition to the government’s stay motion in the district
court, plaintiffs cited a single study concerning one form of colorectal
cancer screening—the colonoscopy—to question the efficacy of all
preventive care. D. Ct. Dkt. No. 127 at 7–8. A single study of
colonoscopies, however, cannot call into question the entire body of
scientific literature upon which the USPSTF and its partner
organizations have relied in crafting their recommendations as to
numerous preventive services. Moreover, the study on which plaintiffs
relied is inapt. It concerned the effect of an invitation to receive a
colonoscopy in four European countries where citizens already have
access to free preventive care. See Michael Bretthauer, et al., Effect of
Colonoscopy Screening on Risks of Colorectal Cancer and Related Death,
N. Engl. J. Med. (Oct. 27, 2022), https://tinyurl.com/yc6uw8yy (abstract).
Even then, the study concluded that “the risk of colorectal cancer at 10
years was lower among participants who were invited to undergo
screening.” Id.

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  Since then, the USPSTF has reviewed a series of “new lifestyle

  intervention studies” and updated its recommendation to include

  screening for abnormal blood glucose levels in overweight or

  obese adults irrespective of their blood pressure, explaining that

  the “new body of evidence” gave it “increased confidence” that

  such measures would be effective. USPSTF, Abnormal Blood

  Glucose and Type 2 Diabetes Mellitus: Screening (Oct. 26, 2015),

  https://tinyurl.com/2p8z43u6 (“Update of Previous USPSTF

  Recommendation”).

• At the time the ACA went into effect, the USPSTF recommended

  HIV screening only for pregnant women and for adolescents and

  adults at increased risk of infection. See USPSTF, Human

  Immunodeficiency Virus (HIV) Infection: Screening, 2005

  (July 5, 2005), https://tinyurl.com/yeyp28zv. But “based on

  studies … address[ing] previous evidence gaps,” the USPSTF

  later updated its recommendation to cover screening for all

  people ages 15–65. USPSTF, Human Immunodeficiency Virus

  (HIV)      Infection:    Screening         (Apr.       15,         2013),

  https://tinyurl.com/ysscnfpu (“Update of Previous USPSTF



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        Recommendation”). This “expanded HIV screening could identify

        a substantial number of persons with previously undiagnosed

        HIV infection,” id., enabling them to begin life-saving treatment

        and to take measures that will “substantially decrease[] risk for

        transmission,” id. (“Rationale”).

     Absent a stay, insurers may now eliminate coverage, or impose cost-

sharing, for these and numerous other vital preventive services. The risk

that insurers will do so is real. Congress, after all, required coverage

under the ACA precisely because substantial numbers of Americans

lacked adequate coverage for preventive services. See supra at 7–8

(explaining that the ACA expanded access for 76 million Americans and

that as many as 100 million Americans utilized cost-free preventive

services in 2018 alone). The self-funded employer health plans that cover

around 65 percent of American workers “can make benefit changes at any

time,” so long as they provide sixty days’ notice, and “[a]ny savings

generated from reducing benefits go directly to employers’ bottom lines,

an attractive prospect as many companies face pressure to reduce labor




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costs and maintain profit levels.”3 Sabrina Corlette, A World Without the

ACA’s Preventive Services Protections: The Impact of the Braidwood

Decision, Health Affs. (Apr. 11, 2023), https://tinyurl.com/3wfzrfk6.

     In addition, insurers have a financial incentive to cut coverage for

preventive services used disproportionately by people who have or are at

higher risk of developing costly medical conditions, as a means of

discouraging them from enrolling in a health plan. See Elizabeth Guo, et

al., Eliminating Coverage Discrimination Through the Essential Health

Benefit’s Anti-Discrimination Provisions, 107 Am. J. Pub. Health 253,

253 (2017), https://tinyurl.com/4uep53rj (describing discriminatory

practices whereby insurers “design benefits to discourage enrollment of

individuals with significant health needs” or “prevent these patients from

receiving appropriate care, thus saving the insurer money”). Many

insurers, in short, may spy an advantage in capitalizing on the district




     3 While a handful of states have legal provisions that mirror the
ACA’s coverage protections, the Employee Retirement Income Security
Act largely preempts application of these state-law requirements to
employer-funded plans. See 29 U.S.C. § 1144(a).

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court’s judgment by doing away with cost-free access to certain

preventive services.

     The district court dismissed these concerns on the basis of a letter

from a number of business and insurer associations that expressed the

“sense” that the majority of their members “d[id] not anticipate making

changes” to their coverage while this case is pending. Letter from James

A. Klein, President, Am. Benefits Council, et al., to Rep. Ron Wyden,

Chairman,    Sen.      Fin.   Comm.,     et   al.,   1–2    (Apr.    19,      2023),

https://tinyurl.com/62ff2a9u, cited in D. Ct. Dkt. No. 129 at 2. The letter,

however, offers scant reassurance. Most obviously, an association’s

“sense” of what members “anticipate” doing is an inadequate response to

the historical reality that prompted Congress to direct cost-free coverage

for preventive care. Moreover, even if many big insurers do not diminish

coverage, large numbers of people could be affected if even a handful of

insurers take a different course. See, e.g., UnitedHealth Grp.,

UnitedHealthcare:        Health     Care       Coverage        and         Benefits,

https://tinyurl.com/8xer9eze (noting coverage for 26.7 million people).

And of course, the letter cited by the district court says nothing about

coverage for the many individuals who receive healthcare benefits



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through small or midsized self-funding employers that do not belong to

the signatory organizations. See Paul Fronstin, Emp’ee Ben. Res. Inst.,

Trends in Self-Insured Health Plans Since the ACA, 4 (Sept. 30, 2021),

https://tinyurl.com/52yxt99m (reporting that 31.7 percent of employers

with 100–499 employees and 16.1 percent of employers with fewer than

100 employees offered self-insured plans in 2020); Small Business &

Entrepreneurship Council, Facts & Data on Small Business and

Entrepreneurship, https://tinyurl.com/2s4345h9 (citing U.S. Census

Bureau data showing that 46.4 percent of private-sector employees

worked for firms with fewer than 500 employees in 2018).

     If preventive care costs increase even for “just” a few million

Americans, the health consequences could be serious. To take an example

based on just one of the many preventive services threatened by the

district court’s judgment, statins used to reduce the risk of stroke and

cardiac arrest first received a qualifying rating from the USPSTF in

2016. If insurers now respond to the district court’s judgment by imposing

cost-sharing requirements for patients to receive these life-saving

medications, research suggests that patients could discontinue use

despite the risks to their health. See, e.g., Teresa B. Gibson, et al., The



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Effects of Prescription Drug Copayments on Statin Adherence, Am. J. of

Managed Care (Sept. 1, 2006), https://tinyurl.com/mv6ucnpz (explaining

that “higher prescription drug copayments are associated with lower

statin adherence”). One “natural experiment” study examined what

happened when an insurance plan covering all British Columbia

residents over the age of 65 moved from (1) providing cost-free coverage

for statins to (2) requiring $10–$25 copayments to (3) requiring 25

percent coinsurance payments. Sebastian Schneeweiss, et al., Adherence

to Statin Therapy Under Drug Cost Sharing in Patients with and Without

Acute Myocardial Infarction, 115 Circulation 2128, 2128 (2007),

https://tinyurl.com/yc3u6ttc. The study found that, “[r]elative to full-

coverage policies, adherence to new statin therapy was significantly

reduced … under a fixed copayment policy … and the subsequent

coinsurance policy.” Id. Significantly, “[s]udden changes to full out-of-

pocket spending … almost doubled the risk of stopping statins.” Id.

     More broadly, according to a recent survey, 40 percent of American

adults would be unable or unwilling to pay out of pocket for the majority

of the evidence-backed preventive services affected by the district court’s

judgment. Ricky Zipp, Many Americans Are Likely to Skip Preventive



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Care If ACA Coverage Falls Through, Morning Consult (Mar. 8, 2023),

https://tinyurl.com/5xu5fvf8.   This        figure   underscores      the     well-

established principle that cost-sharing requirements can prevent or deter

patients from utilizing medical services. See Rajender Agarwal, et al.,

High-Deductible Health Plans Reduce Health Care Cost and Utilization,

Including Use of Needed Preventive Services, 36 Health Affs. 1762, 1766

(2017), https://tinyurl.com/mrekw95f (reporting, “consistent with a large

body of evidence on cost sharing,” that deductibles can cause patients to

“forgo needed care,” including preventive care, “to save money”); Mitchell

D. Wong, et al., Effects of Cost Sharing on Care Seeking and Health

Status: Results from the Medical Outcomes Study, Am. J. Pub. Health

(2001), https://tinyurl.com/2p8ftt4s (“Requiring patients to pay a portion

of their medical bill out of pocket[] … sharply reduces their use of health

care resources.”); cf. Karishma Srikanth, et al., Associated Costs Are a

Barrier to HIV Preexposure Prophylaxis Access in the United States, 112

Am. J. Pub. Health 834, 835 (2022), https://tinyurl.com/mr2skuye

(explaining the role of “actual and perceived cost barrier[s]” in inhibiting

use of prophylactic HIV medications and increasing the “transmission

and prevalence of HIV”).



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     Plaintiffs’ argument that it is improper to “presume[] that rational

people will decline to purchase valuable items,” D. Ct. Dkt. No. 127 at 9,

overlooks that the ACA’s requirement of full coverage for preventive care

is targeted to benefit precisely those patients who lack the means to

absorb the cost themselves. See, e.g., Hope C. Norris, et al., Utilization

Impact of Cost-Sharing Elimination for Preventive Care Services: A

Rapid      Review,       Med.    Care         Res.   &      Rev.,        20     (2021),

https://tinyurl.com/nha6we29       (explaining       that       “those    who     [are]

financially vulnerable incur[] substantial increases in utilization” of

preventive services when cost-sharing is eliminated). Even as to patients

for whom the cost of preventive care does not impose a direct financial

burden, behavioral economics teaches that consumers routinely fail to

accurately appraise the value of “incurring costs today to produce future

benefits.” Nat’l Bur. of Econ. Res., Lessons for Health Care from

Behavioral     Economics,       Bull.     on     Aging      &     Health        (2008),

https://tinyurl.com/3exfj6ur.

     Plaintiffs’ citation to one document describing equivocal uptake of

a handful of preventive services in the immediate aftermath of the ACA’s

passage fails to support their broad contention that “the preventive care



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mandates imposed by the ACA did not lead to increased consumption of

the relevant services.” D. Ct. Dkt. No. 127 at 6 (citing HHS, Access to

Preventive Services at 7–8). The cited document expressly noted the

relative dearth of studies “specifically examining the effects of

eliminating cost-sharing for preventive services among individuals who

already had health coverage” prior to the ACA. HHS, Access to Preventive

Services at 7. Plaintiffs offer no reason to doubt that those effects were

consistent with the vast body of research confirming the commonsense

idea that lifting cost barriers to preventive services increases utilization,

particularly among the most economically vulnerable communities.

III. No countervailing harms to plaintiffs or to the public
     interest counsel against a stay.

     As against the considerable risk of irreparable harm to the health

of millions of Americans absent a stay, plaintiffs here will suffer no

harm—let alone irreparable harm—if this Court stays the district court’s

judgment. As for plaintiffs that supply health insurance, the

government’s requested stay does not encompass them, and they will

remain free to withhold cost-free coverage of USPSTF-recommended

preventive services from their employees during this appeal. As for

plaintiffs that consume health insurance, they have not shown that the


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inability to purchase a health-insurance plan that provides less coverage

is an injury at all. See D. Ct. Dkt. No. 113 at 13–14. Although the district

court held that four individual plaintiffs are injured by the lack of market

access to health plans that exclude coverage for certain preventive

services they find objectionable on religious grounds, id., the balance of

harms does not favor upending the entire national health insurance

market on the off chance that an insurance option that is tailored to the

specific convictions of these four individuals will emerge from the

resulting market upheaval while this appeal is pending.

     Cost-free coverage of USPSTF-recommended services has been the

law for thirteen years, and that coverage has given countless Americans

access to potentially life-saving care. In contrast to plaintiffs’ speculation

about beneficial hypothetical market impacts of the district court’s

judgment for the uninsured, see D. Ct. Dkt. No. 127 at 8, the risk that the

judgment poses to the continuity of medical care for vast numbers of

Americans is direct and immediate. This Court should step in to prevent

this result until it has had the chance to consider whether the law

demands such disruption.




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                            CONCLUSION

     This Court should stay the district court’s judgment during the

pendency of this appeal.

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April 27, 2023




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                 CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limitation of Federal

Rules of Appellate Procedure 29(a)(5) and 32(a)(7)(B)(i) because,

excluding the parts of the brief exempted by Federal Rule of Appellate

Procedure 32(f) and the Rules of this Court, it contains 4,774 words.

     This brief also complies with the typeface and type-style

requirements of Federal Rules of Appellate Procedure 29(a)(4), 32(a)(5),

and 32(a)(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Word in 14-point Century Schoolbook.


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                       CERTIFICATE OF SERVICE

     I hereby certify that I electronically filed the foregoing Brief of

Amici Curiae with the Clerk of the Court for the United States Court of

Appeals for the Fifth Circuit on April 27, 2023, using the Appellate

Electronic Filing system. I certify that all participants in this case are

registered CM/ECF users and that service will be accomplished by the

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